                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:15-CR-213-FDW-DCK

 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
    v.                                              )       ORDER
                                                    )
 DINO NASTASI,                                      )
 DAVID FAIRCHILD,                                   )
 SABRINA MOMMERS,                                   )
 KRISTIAN SIERP,                                    )
 ROBERT JESUS VALDES FERNANDEZ,                     )
 STEPPHEN E. FINCK,                                 )
 THOMAS SNIFFEN,                                    )
 BARRY HARMELIN,                                    )
 CARLIN WOODS,                                      )
 PATRICIO DEL-HOYO,                                 )
 MICHAEL SAXON,                                     )
 GAVIN JORDAN, and                                  )
 DONALD DODT,                                       )
                                                    )
                Defendants.                         )
                                                    )

         THIS MATTER IS BEFORE THE COURT on the “United States’ Motion To Unseal

Indictment And Arrest Warrants” (Document No. 19) filed March 17, 2016. Having carefully

considered the motion and the record, and applicable authority, the undersigned will grant the

motion.

         IT IS, THEREFORE, ORDERED that the “United States’ Motion To Unseal Indictment

And Arrest Warrants” (Document No. 19) is GRANTED.

         IT IS FURTHER ORDERED that the Indictment and Arrest Warrants in the above

named matter be unsealed.

                                         Signed: March 25, 2016




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